                                                                 Motion (DE #26) GRANTED.
                                                                 Extensions as requested.


                IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF TENNESSEE

ANGELA STEWART,                           )   Case No. 3:20-cv-00679
                                          )
                     Plaintiff,           )   Judge: Hon. Aleta A. Trauger
                                          )
       v.                                 )   JOINT MOTION TO EXTEND
                                          )   DEADLINE TO AMEND
HEALTHCARE REVENUE                        )   PLEADINGS
RECOVERY GROUP, LLC,                      )
                                          )
                     Defendant.           )
                                          )

       Plaintiff Angela Stewart (“Plaintiff”) and Defendant Healthcare Revenue

Recovery Group, LLC (“Defendant”) (collectively, the “Parties”) respectfully

submit this motion to extend the deadline to amend the pleadings. In support, the

Parties respectfully states as follows:

       1.     On September 24, 2020, the Court entered its Case Management

Order setting forth a January 15, 2021 deadline to amend the pleadings. Doc. 16.

       2.     On November 9, 2020, Plaintiff served Defendant with her first set

of written discovery requests.

       3.     Shortly after Defendant served its objections and answers to

Plaintiff’s requests on December 14, 2020, a discovery dispute arose between the

parties.

       4.     Defendant has agreed to supplement its responses on or before

January 8, 2021.




                                -1-
 Case 3:20-cv-00679 Document 27 Filed 12/23/20 Page 1 of 1 PageID #: 92
